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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                  NO. 4:13CR00068-01 JLH

KENNETH EUGENE BROWN, II                                                            DEFENDANT

       SECOND AMENDED ORDER REGARDING TELEPHONE PRIVILEGES

       The Court previously granted the motion filed by the United States of America to restrict

Kenneth Eugene Brown, II’s telephone privileges. Thereafter, the Court amended the order to

permit Brown to place telephone calls to his lawyer, Teresa Bloodman. Bloodman has since

withdrawn and has been replaced by Christophe A. Tarver, Senior Litigator for the Office of Public

Defender. Therefore, Brown will be permitted to place calls to the Federal Public Defender’s office,

but to no one else. The Federal Public Defender’s office must provide a telephone number by e-mail

to kpaxson@pcso.org. Whenever a telephone call is initiated by the jail on behalf of Brown to the

Federal Public Defender’s office, at the conclusion of the telephone call, someone from that office

must promptly e-mail kpaxson@pcso.org to notify her that the telephone call has been concluded

so that the telephone can be retrieved. If Brown uses the telephone call to make another call before

it is retrieved, his privilege of communicating with his lawyer in this manner will be revoked.

       IT IS SO ORDERED this 7th day of April, 2014.



                                                     _________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
